Case 6:16-cv-00970-RBD-TBS Document 87 Filed 06/01/18 Page 1 of 1 PageID 1006
                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

UNITED STATES OF AMERICA,
BARBARA BERNIER and ESE
LOVE,

                         Plaintiffs,

v.                                                                Case No: 6:16-cv-970-Orl-37TBS

INFILAW CORPORATION,
CHARLOTTE SCHOOL OF LAW,
LLC, AMERICAN BAR
ASSOCIATION and AMERICAN
BAR ASSOCIATION,

                         Defendants.
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                                        NOTICE TO COUNSEL

        Anne E. Rea, Tacy F. Flint, Steven Horowitz, and Benjamin I. Friedman

        Please review Local Rule 2.02 of the Local Rules of the United States District Court for the Middle

District of Florida for non-resident attorneys.        Note the fourteen (14) day deadline. Please go to

www.flmd.uscourts.gov under the Attorney Resources section for further information or call the Clerk's

Office for the division in which you will be filing.

        Local Counsel: Please file a Motion to Appear Pro Hac Vice electronically on behalf of the
        non-resident attorney(s).

        Special Admission Fee:

        The $150.00 fee is per attorney appearing Pro Hac Vice per case.




                                                  ELIZABETH M. WARREN, CLERK

                                                  s/BA, Deputy Clerk
